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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


 Case Title: Liebich v. Illinois Department            Case Number: 1:19-cv-00242
 of Corrections, et al.

An appearance is hereby filed by the undersigned as attorney for:
Darren Davenport, Walter Nicholson, Randy Pfister, and William Shevlin.

Attorney name (type or print): Alan Williams

Firm:     Office of the Illinois Attorney General

Street address:         100 W. Randolph Street, 13th Floor

City/State/Zip:     Chicago, Illinois 60601

 Bar ID Number: 6321732                                Telephone Number:           312-814-3654
 (See item 3 in instructions)

Email Address: ajwilliams@atg.state.il.us

Are you acting as lead counsel in this case?                                     Yes           No

Are you acting as local counsel in this case?                                    Yes           No

Are you a member of the court’s trial bar?                                       Yes           No

If this case reaches trial, will you act as the trial attorney?                  Yes           No

If this is a criminal case, check your status.                    Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on February 6, 2019

Attorney signature:        S/ Alan Williams
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                           Revised 8/1/2015
